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UNITED STATES DISTRICT COURT en
SOUTHERN DISTRICT OF NEW YORK

03 MDL 1570 (RCC)
In re Terrorist Attacks on September 11,2001 | ECF Case

This document relates to:

Estate of O'Neill, et al. v. The Republic of Iraq, et al., Case No. 04 CV 1076
(RCC) (S.D.N.Y.)

STIPULATION AS TO THE EXTENSION OF TIME TO

RESPOND TO THE THIRD AMENDED COMPLAINT FOR
DEFENDANTS SCBREIBER & ZINDEL, FRANK ZINDEL,

ENGELBERT SCHREIBER, AND ENGELBERT SCHREIBER, JR.

IT IS HEREBY STIPULATED AND AGREED, by and between Plaintiffs in the
above referenced case consolidated under 03 MDL 1570 and Defendants Schreiber &
Zindel, Frank Zindel, Engelbert Schreiber, and Engelbert Schreiber, Jr. (“Defendants”), by
and through their undersigned counsel, that the time for Defendants to answer, move, or
- otherwise plead to the Third Amended Complaint in Estate of O'Neill, et al. vy. The
Republic of Iraq, et al., Case No. 04 CV 1076 (RCC) (S.D.N.Y.), shall be extended to and
including July 8, 2005.

IT IS FURTHER HEREBY STIPULATED AND AGREED that the Plaintiffs’
response to any motion Defendants may file in response to the Third Amended Complaint
shall be filed on August 5, 2005, and that Defendants’ counsel shail file reply memoranda,

if any, within twenty-one (21) days of receipt of Plaintiffs’ opposing papers.
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Respectfully Submitted,

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eys for Plaintiffs

SO ORDERED: .

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RICHARD CONWAY CASEY, U.S.D.J.

Dated: Lal yl 200S
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